Case 3:21-cv-00161-DJH-LLK Document 91 Filed 12/06/22 Page 1 of 4 PageID #: 1083




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION
                                   NO. 3:21-CV-161-DJH


 KENNETH WALKER III, et al.                                                          PLAINTIFFS

 v.                   AGREED ORDER OF VOLUNTARY DISMISSAL

 LOUISVILLE/JEFFERSON COUNTY
 METRO GOVERNMENT, et al.                                                          DEFENDANTS

                                         * * * * * * * *

        Plaintiff, Kenneth Walker, III, has agreed to voluntarily dismiss his claims against

 Defendants Joshua Jaynes, Brett Hankison, Myles Cosgrove, Jonathan Mattingly, Shawn

 Hoover, Tony James, Michael Nobles, Michael Campbell, Kelly Goodlett, Kyle Meany, Jerry

 Huckleberry, Luke Phan, Kimberly Burbrink, and any and all previously named and/or unknown

 employees of the Louisville Metro Police Department with prejudice.

        IT IS HEREBY ORDERED AND ADJUDGED that the Plaintiff’s claims against the

 Defendants Joshua Jaynes, Brett Hankison, Myles Cosgrove, Jonathan Mattingly, Shawn

 Hoover, Tony James, Michael Nobles, Michael Campbell, Kelly Goodlett, Kyle Meany, Jerry

 Huckleberry, Luke Phan, Kimberly Burbrink, and any and all previously named and/or unknown

 employees of the Louisville Metro Police Department are hereby DISMISSED with prejudice,

 and with no payment of settlement sums, nor promises to pay settlement moneys on behalf of the

 aforementioned individuals. Each party is to bear their own costs. This dismissal shall not impact

 or otherwise apply to the Plaintiff’s claims against Louisville/Jefferson County Metro

 Government, which will be dismissed by separate pleading.

        This is a final and appealable Order with no just cause for delay.



                                                 1
Case 3:21-cv-00161-DJH-LLK Document 91 Filed 12/06/22 Page 2 of 4 PageID #: 1084




                                      ____________________________________________
                                      Judge David J. Hale
                                      U.S. District Court for the Western District of Kentucky


                                      DATE:______________________________



 /s/ Kristie B. Walker_______________
 Michael O’Connell
 Kristie B. Walker
 Office of the County Attorney
 First Trust Centre
 200 S. Fifth Street, Suite 300N
 Louisville, KY 40202
 Kristie.walker@louisvilleky.com
 Counsel for Defendants
 Louisville/Jefferson County Metro Government;
 Officer Michael Campbell; Detective Michael Nobles;
 Lieutenant Shawn Hoover; and
 Detective Tony James

 HAVING SEEN AND AGREED:

 /s/ Frederick W. Moore, III, signed with permission
 Frederick W. Moore, III
 H. Philip Grossman
 Abigale Rhodes Green
 Grossman Green PLLC
 2000 Warrington Way, Suite 170
 Louisville, KY 40222
 fmoore@grossmangreen.com

 /s/ Ruby J. Garett, signed with permission
 Ruby J. Garrett
 Donald B. Verrilli, Jr.
 Dahlia Mignouna
 Brendan B. Gants
 Munger, Tolles & Olson LLP
 601 Massachusetts Avenue NW Suite 500 E
 Washington, DC 20001
 ruby.garrett@mto.com

                                                2
Case 3:21-cv-00161-DJH-LLK Document 91 Filed 12/06/22 Page 3 of 4 PageID #: 1085




 /s/ Jacob S. Krieilkamp, signed with permission
 Jacob S. Kreilkamp
 Robyn K. Bacon
 Munger, Tolles & Olson LLP
 350 S. Grand Avenue 50th Floor
 Los Angeles, CA 90071

 /s/ Clifford M. Sloan, signed with permission
 Clifford M. Sloan
 Georgetown University Law Center
 600 New Jersey Avenue NW
 Washington, DC 20001
 Cliff.sloan@georgetown.edu

 /s/ Steven R. Romines, signed with permission
 Steven R. Romines
 Romines Weis & Young PSC
 600 West Main Street, Suite 100
 Louisville, KY 40202
 sromines@rominesweisyoung.com
 Counsel for Plaintiff Kenneth Walker III

 /s/ James P. Dilbeck, Jr., signed with permission
 James P. Dilbeck, Jr.
 Jace S. Martin
 Dilbeck & Myers
 8005 Lyndon Centre Way
 Louisville, KY 40202
 jay@dilbeckandmyers.com
 jmartin@dilbeckandmyers.com
 Counsel for Defendant Joshua Jaynes

 /s/ Kent Wicker, signed with permission
 Kent Wicker
 William H. Brammell, Jr.
 Kayla M. Campbell
 Dressman Benzinger LaVelle PSC
 321 W. Main Street, Suite 2100
 Louisville, KY 40202
 kwicker@dbllaw.com
 bbrammell@dbllaw.com
 kcampbell@dbllaw.com
 Counsel for Defendants
 Detective Myles Cosgrove and
 Sergeant Jonathon Mattingly

                                                   3
Case 3:21-cv-00161-DJH-LLK Document 91 Filed 12/06/22 Page 4 of 4 PageID #: 1086




 /s/ Matthew A. Piekarski, signed with permission
 Matthew A. Piekarski
 Katherine T. Watts
 PHILLIPS PARKER ORBERSON & ARNETT, PLC
 716 West Main Street, Suite 300
 Louisville, Kentucky 40202
 (502) 583-9900
 Counsel for Defendant Brett Hankison

 /s/ Joseph C. Klausing, signed with permission
 Joseph C. Klausing
 O'Bryan, Brown & Toner, PLLC
 401 S. Fourth Street, Suite 2200
 Louisville, KY 40202
 502-585-4700
 Fax: 502-585-4703
 klausingj@obtlaw.com
 Counsel for Kelly Goodlett

 /s/ Bradley R. Palmer, signed with permission
 Bradley R. Palmer
 Ken Bohert
 CONLIFFE, SANDMANN & SULLIVAN, PLLC
 325 W. Main Street, Unit 2000
 Louisville, KY 40202
 (502) 587-7711
 Counsel for Defendant Kyle Meany




                                                  4
